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      Factbase
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   Donald J. Trump

   Transcripts       White House Calendar        White House Press Releases




         Press Conference: Donald Trump Holds a Press Conference in New York - September 6,
                                               2024

                  StressLens                     2 Topics                    9 Entities          Moderation        3 Speakers




                                                                                                                                          X




             Full Transcript


                     Donald Trump    00:00:00-00:00:35 (35 sec)                                                            WEAK (1.007)
             
https://rollcall.com/factbase/trump/transcript/donald-trump-press-conference-new-york-september-6-2024/                                       1/15
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                  So, thank you very much, everybody, for being here. This is a long and complicated web and story, but it all goes back to the

                  DOJ and Kamala and Sleepy Joe and all the rest of them. We have a whole rigged election system. Nobody's ever seen anything

                  like what's happening. Now, I understand. Yesterday, they're bringing up Russia, Russia, Russia again, that they've done for
                  years.


                  Donald Trump    00:00:35-00:01:06 (31 sec)                                                                            NO SIGNAL (0.829)
            
                  Never found anything. But they should be looking at China, China, China, Iran, Iran, Iran, and lots of other places. I haven't
                  spoken to anybody from Russia in years. They know that, but it's a scam. But it all goes back to the DOJ because we had a trial

                  today. It's an appeal of a ridiculous verdict of a woman I have never met.


                  Donald Trump    00:01:06-00:01:37 (31 sec)                                                                            NO SIGNAL (0.639)
            
                  I don't know. I have no idea who she is. She wrote a book, and she made a ridiculous story up. She put it in her book, and we're

                  now appealing the decision. We had an extremely hostile judge appointed by Clinton, very good friends of Clinton. I guess he

                  married -- presided over the marriage ceremony of one of the lawyers on the case against us, and it's very sad.


                  Donald Trump    00:01:37-00:01:58 (21 sec)                                                                            NO SIGNAL (0.568)
            
                  Judge Lewis Kaplan, angry man. He was so angry. I went to the trial. I've been in a lot of litigation over the years. I've never seen
                  such anger. He wanted to throw one of our attorneys in jail. He threatened her with jail. Nobody's ever seen anything like it.

                  Over nothing. Nobody's ever -- I've never seen such anger.


                  Donald Trump    00:01:58-00:02:26 (28 sec)                                                                            NO SIGNAL (0.687)
            
                  But all of our judges -- I mean, we had a brilliant judge and, I think, a very fair judge in Florida. I think we have another judge

                  who's very fair. I just ask for fair. I don't want anything different from anybody else. I just ask for fairness. We have another judge
                  or a couple of judges that I think are fair, but then we have other judges that I think the whole thing is -- I think the system is a
                  disgrace.


                  Donald Trump    00:02:26-00:02:53 (27 sec)                                                                             NO SIGNAL (0.761)
            
                  The case that we met on today -- and then we're going to talk about job numbers, which are horrible, by the way. Horrible, like
                  really bad. And you know that. I'm sure you won't report on it, but the job numbers are terrible. We're going to talk about the
                  appeal today. We had a great appellate lawyer go down representing us, and I think John did a very good job.


                  Donald Trump    00:02:53-00:03:20 (27 sec)                                                                            NO SIGNAL (0.388)
            
                  You have a matter of minutes to speak. It's a very complex thing because it was a setup, a rigged deal. They had two witnesses.
                  And before I start, I have no idea who this woman is. They have a picture from, they say, about 40 years ago, a picture, and the

                  picture depicts her and her husband on a celebrity line where I was the celebrity.


                  Donald Trump    00:03:20-00:03:43 (23 sec)                                                                             NO SIGNAL (0.713)
            
                  I have been a celebrity for a long time. And they were shaking my hands along with hundreds of other people. Nobody even

                  knows where it is. The problem is she doesn't know the date of this incident. She doesn't know when. She doesn't know. Was it
                  in the '90s? Could it have been further than that? She has no idea when.                                                                   X


                  Donald Trump    00:03:43-00:04:12 (29 sec)                                                                             NO SIGNAL (0.63)
            
                  And people do that because you don't want to give a specific date, and then you find out that Trump, or whoever it was, was in
                  Europe, so they tend to do that. They take long periods so that this way, hopefully, he was in New York at that time. But this is a



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                  disgraceful case and disgraceful, in particular, because it's about a former president of the United States who is now leading in
                  the polls to be the president again.


                  Donald Trump    00:04:12-00:04:41 (29 sec)                                                                            NO SIGNAL (0.773)
            
                  And this is being worked with the DOJ, Department of Justice, as are all of these cases. They all come out. Atlanta, Fani, that is
                  all Department of Justice. Nobody knew that. The case with Judge Engoron, the most overturned judge in the state, that is very

                  close because they sent their team from the DOJ to help him.


                  Donald Trump    00:04:41-00:05:19 (38 sec)                                                                              NO STRESSLENS
            
                  The district attorney, Alvin Bragg, that was all worked with -- again, they sent a top operative from the department, from the
                  DOJ, Department of -- I call it the Department of Injustice because they're using the Department of Justice to rig the campaign.

                  These cases are disgraceful. Now, they're brought, for the most part, in front of very hostile areas where Republicans get 3% or
                  4%, like downtown Manhattan, in front of very hostile judges, like hostile like you wouldn't believe.


                  Donald Trump    00:05:19-00:05:42 (23 sec)                                                                           NO SIGNAL (0.622)
            
                  Judge Merchan, Judge Engoron, and Judge Kaplan, all of them, hostile areas and very, very hostile judges. I've never seen
                  anything like it. And very bad thing, in this case, New York, very bad thing for New York. Businesses won't come to New York
                  because of what took place with Judge Engoron. I can tell you that.


                  Donald Trump    00:05:42-00:06:01 (19 sec)                                                                             NO SIGNAL (0.91)
            
                  And probably the rest of them also. But this case involved a woman who wrote a book, and I guess she said something in the
                  book. That's when I first heard about it. I first heard about it in the White House, and of course, I denied the story because it's

                  not true. I have no idea who the woman is, and I never met her.


                  Donald Trump    00:06:01-00:06:24 (23 sec)                                                                            NO SIGNAL (0.44)
            
                  Now, I don't know about a picture that was taken 40 years ago with her husband on a celebrity line, so I don't think that counts.

                  But as far as I know, I never met her. I never touched her. I have -- I would have had no interest in meeting her in any way,
                  shape, or form. Her husband was a news anchor, actually.


                  Donald Trump    00:06:24-00:06:43 (18 sec)                                                                           NO SIGNAL (0.238)
            
                  John Johnson, a very nice guy. She called him horrible things. We weren't allowed to say that in the trial. She said horrible things
                  about him. I guess they're since divorced. He's a very nice guy, African American. And she said very bad things. We weren't
                  allowed to use that in the trial, which surprised a lot of people.


                  Donald Trump    00:06:43-00:07:08 (25 sec)                                                                            NO SIGNAL (0.871)
            
                  But she made up a story and fabricated 100% that I attacked her at Bergdorf Goodman. You know, it's very interesting. I don't

                  think they were allowed to use this either. Her favorite show is "Law & Order," and there's an almost exact story as her story in
                  "Law & Order" about being attacked in the dressing room of a department store.


                  Donald Trump    00:07:08-00:07:29 (22 sec)                                                                           NO SIGNAL (0.995)    X
            
                  I don't know if they used the name of the store. But that's her favorite show, "Law & Order." She said that. Anyway, this evolved
                  into a defamation case against me because I disputed her words because I told the truth. We were called -- I was in the White
                  House, and I said, "No. It never happened." I didn't even know what they were talking about.


                  Donald Trump    00:07:29-00:07:52 (23 sec)                                                                            NO SIGNAL (0.501)
            
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                  This was -- I think that was in the Oval Office. "Sir, do you know anything about this?" And this had to do with the book, and she
                  had a few pages in a book making this claim. By the way, there was never a claim. There was never a police report. There was
                  never anything mentioned. There was never publicity 30 or 40 years ago, whenever it took place.


                  Donald Trump     00:07:52-00:08:25 (33 sec)                                                                             NO SIGNAL (0.209)
            
                  Nobody knows. She doesn't know when it took place. When did it take place? She has no idea. She thinks it was in the 1990s.
                  She thinks it was in the 1990s. And the judge -- we had two trials. We asked for consolidation. He said no. The reason he said no

                  is he'd rather have double the publicity because that's bad for me, very bad because I'm running for president, and this is not
                  the kind of publicity you like.


                  Donald Trump     00:08:25-00:08:48 (23 sec)                                                                             NO SIGNAL (0.077)
            
                  And whether it's true or not, it's horrible. And in this case, it's so false. It's a made-up, fabricated story by somebody, I think,
                  initially just looking to promote a book. And when they called me, I denied the story. I got sued essentially for defamation
                  because I'm denying a story where I'm right.


                  Donald Trump     00:08:48-00:09:17 (29 sec)                                                                             NO SIGNAL (0.254)
            
                  I should be suing her for defamation. So, that's where it is. Now, there were two witnesses. One is a woman who's followed me
                  for years. She said in 1979, I was in an airplane with her, commercial flight, and we became very intimate. I just sat down. I think
                  I had the book, "The Art of the Deal." I was famous then, too.


                  Donald Trump     00:09:17-00:09:39 (22 sec)                                                                             NO SIGNAL (0.441)
            
                  I've been famous for a long time. And we're sitting in first class, according to her. It never happened, by the way, totally made-
                  up story. She's a Clinton person, too, by the way, big Clinton person. She made up the story and so many years ago. And I think

                  it would be 1979. One of my many people behind me could correct it, but I think she said 1979.


                  Donald Trump     00:09:39-00:10:14 (35 sec)                                                                             NO SIGNAL (0.381)
            
                  That's a long time ago. And I sat down. I believe I had some pretty big success then, and I was being talked about a lot. Maybe
                  "The Art of the Deal" was out, you know, sometime after that. I'm not sure. But I was well-known, and passengers are coming
                  into the plane. And she said I was making out with her, and then after 15 minutes -- and then she changed her story a couple of
                  times, maybe it was quicker, that I grabbed her at a certain part, and that was when she had enough.


                  Donald Trump     00:10:14-00:10:42 (28 sec)                                                                             NO SIGNAL (0.427)
            
                  So, think of the impracticality of this. I'm famous. I'm in a plane. People are coming into the plane, and I'm looking at a woman,
                  and I grab her, and I start kissing her and making out with her. What are the chances of that happening? What are the chances?
                  And frankly, I know you're going to say it's a terrible thing to say, but it couldn't have happened.


                  Donald Trump     00:10:42-00:11:15 (33 sec)                                                                             NO SIGNAL (0.462)
            
                  It didn't happen, and she would not have been the chosen one. She would not have been the chosen one. She has gone around

                  for years saying this story. Everywhere I go, she says this story, and it's a total lie. Now, I assume she'll sue me now for
                  defamation like I got sued by E. Jean Carroll, who interestingly said she's been hurt, damaged, but she's made more money                   X

                  since she did this than she ever made in her life.


                  Donald Trump     00:11:15-00:11:38 (23 sec)                                                                             NO SIGNAL (0.259)
            
                  She gets paid a lot of money to go talk bad things about me. So, remember this. This whole thing started, along with just about
                  every other case I'm involved with, with the political campaign of Harris, who's having a bad time because she can't talk, of

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                  Harris and Joe Biden. This was election interference.


                  Donald Trump     00:11:38-00:12:05 (27 sec)                                                                               NO SIGNAL (0.478)
            
                  It all is. It's all fabricated but fabricated in front of very friendly judges for them and in very friendly areas for them. If you get a

                  jury, it's very hard to win in a jury. We have 3% or 4% or 5% Republican votes. Very, very tough, actually. Two witnesses, one is
                  named Jessica Leeds. So, she was up again.


                  Donald Trump     00:12:05-00:12:24 (19 sec)                                                                               NO SIGNAL (0.601)
            
                  She can't get rid of her. She was up. She said I was in an airplane doing that. A couple of things. You have an armrest in planes
                  back in those days. Oh, by the way, she didn't know anything about the flight, where we were going. I was in very few flights. I
                  was a New York guy building New York building.


                  Donald Trump     00:12:24-00:12:52 (28 sec)                                                                               NO SIGNAL (0.489)
            
                  I was in very few airplanes, I will tell you, in those days. 1979, I think. It's a long time ago. But you had the armrest, and in the old
                  days, they didn't move, OK? But she said she then got out, and she went to the back of the plane, and that was the end of the
                  story, I think. And this story has followed me for years.


                  Donald Trump     00:12:52-00:13:26 (34 sec)                                                                               NO SIGNAL (0.625)
            
                  But just to finish with her, Jessica Leeds, no police reports, no witnesses, no corroboration of any kind, no criminal suggestions,

                  no nothing. Then you have another one, and this one is a writer for People Magazine, who I actually thought was very nice. She
                  came to Mar-a-Lago, and she wrote the most beautiful story you've ever seen.


                  Donald Trump     00:13:26-00:13:47 (22 sec)                                                                               NO SIGNAL (0.913)
            
                  It was a love story about Melania and myself, a love story in People Magazine, and that was it. It was a cover, I think, but it was a
                  beautiful story. You would -- everybody would love to have that marriage. She said the nicest things about me, about Melania.
                  You have the story. I mean, you can read the story.


                  Donald Trump     00:13:47-00:14:26 (39 sec)                                                                                 NO STRESSLENS
            
                  And her name was -- whoever. Let's see. Her name was -- who? Stoynoff, yeah. I don't have it. Whatever her name was. I don't
                  know the lady, so perhaps it's much better that way, but I really don't know the lady. So, she wrote this beautiful story, and
                  about, I don't know, years later, no police reports, no anything.


                  Donald Trump     00:14:26-00:14:50 (24 sec)                                                                               NO SIGNAL (0.469)
            
                  Years later, the same person, they called up, "Did you attack at Mar-a-Lago this woman, this writer?" Whatever her name is. And

                  she was a witness in a case. Her and Leeds were the two witnesses. There are only two witnesses. "Did you attack her?" I said,
                  "Who is she?" And they said, "She writes for People Magazine."


                  Donald Trump     00:14:50-00:15:08 (18 sec)                                                                                     WEAK (1.32)
            
                  I said, "I don't know anything about the lady. I had a story long ago, years before, about People, but it was a very nice story. So,
                  I don't know. It has to be made-up because I don't know what you're talking about." It turned out that the same lady that wrote               X

                  this beautiful story years later said I attacked her.


                  Donald Trump     00:15:08-00:15:34 (25 sec)                                                                                NO SIGNAL (0.76)
            
                  Now, think of this. Oh, and she said the butler knew everything. The old expression, the butler did it, right? Very famous in crime
                  stories. Well, the butler was Tony Senecal, worked for me for a long time. He was at -- he was retired at that time. That was years

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                  later. He retired. He was retired when this hoax came out.


                  Donald Trump     00:15:34-00:16:01 (28 sec)                                                                             NO SIGNAL (0.761)
            
                  And what happened is he totally confirmed my story, and he didn't even work for me anymore. He passed away a couple of
                  years ago, a good man. He said, "The woman was crazy. It never happened. I was the one that served her whatever she was
                  drinking, and I was there, and nothing ever happened." But you don't need the butler.


                  Donald Trump     00:16:01-00:16:32 (31 sec)                                                                             NO SIGNAL (0.561)
            
                  All you have to do is read the story. Think of this. A woman comes into Mar-a-Lago, interviews me about a love story, story
                  about my wife and myself. And during that interview, I attacked her and pushed her up against the wall violently, OK? And then
                  she leaves, and she writes a perfect story, a perfect story.


                  Donald Trump     00:16:32-00:16:56 (24 sec)                                                                             NO SIGNAL (0.744)
            
                  She doesn't mention the event. Again, there's nothing on file at all. Zero. There was no complaints. There were no complaints to

                  People Magazine. There was no witness. There was nothing. Yeah, well, there was a witness, the butler, and he's already said
                  everything. He's already told the story. Because this story, likewise, like Leeds, this story has followed me around.


                  Donald Trump     00:16:56-00:17:17 (21 sec)                                                                             NO SIGNAL (0.174)
            
                  I could go through many other stories outside of this. You know, it's very funny. When you're rich and famous, you get a lot of
                  people come up with a lot of stories. But you're writers, and some of you are legitimate writers, and some of you aren't. Some of
                  you are fake news, and some of you are real news.


                  Donald Trump     00:17:17-00:17:46 (28 sec)                                                                              NO SIGNAL (0.69)
            
                  But put yourself in my position. I'm running for president, and I have all these cases, all of a sudden, come out. And they have
                  fake cases, and they report back to DOJ. And you have Lisa Monaco, one of the people at DOJ who I saw the other day talking
                  about the Russia, Russia, Russia hoax, and yet she's friends with Andrew Weissmann and that whole group and crew, who
                  should be sued, by the way, because they're not a charity.


                  Donald Trump     00:17:46-00:18:08 (23 sec)                                                                              NO SIGNAL (0.14)
            
                  All they are is a political organization that goes after Trump for the last eight years. I mean, he's a sick person that runs that, too.
                  But Lisa Monaco is in the Department of Justice, but she's an Andrew Weissmann person who's been after me for years. So far,
                  he's failed, and he's having a heart attack because I'm leading in the polls.


                  Donald Trump     00:18:08-00:18:36 (28 sec)                                                                             NO SIGNAL (0.105)
            
                  I guess if you look at Nate Silver, very respected guy. I don't know him, but he has me up by a lot. So, let's say we're leading, or
                  let's say we're tied, or let's say what difference. I'm in the race. It's between two people. But I think we're leading by a lot
                  because the opponent refuses to do an interview because she can't talk, and they're not going to skate through it.


                  Donald Trump     00:18:36-00:19:02 (26 sec)                                                                                  WEAK (1.147)
                                                                                                                                                             X
                  I'm not going to have a Marxist president. The people are getting it. So, we go down to court today to talk about this case is a
                  scam, and all I can say is that I never met the woman other than this picture, which could have been AI-generated. I don't know.
                  Showed up. I don't know her. But it's fine.


                  Donald Trump     00:19:02-00:19:28 (26 sec)                                                                             NO SIGNAL (0.533)
            

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                  Nice picture with her, her husband, and lots of other people are on line. It's a celebrity line. But never met her, never touched
                  her, never had anything to do with her. The other thing is I was very famous then. If I would've walked into Bergdorf Goodman,
                  the department store that she said, everybody would've said, "Oh, there's Trump."


                  Donald Trump    00:19:28-00:19:55 (27 sec)                                                                             NO SIGNAL (0.426)
            
                  And it would've been, at that time, on Page 6. Page 6 was the equivalent of today's internet. And it would have been a big story
                  if I would have walked into that store, gone into a dressing room, and supposedly you know what to her. Never happened.
                  Never happened. Total phony story. And I feel sad that I have to come up here and explain it.


                  Donald Trump    00:19:55-00:20:27 (32 sec)                                                                             NO SIGNAL (0.713)
            
                  I have all this legal talent, but legal talent cannot overcome rigged judges. They can't overcome a 4% Republican area, and I'm
                  disappointed in my legal talent. I'll be honest with you. They're good. They're good people. They're talented people. Today, at
                  the trial, they didn't mention the dress. So, the Monica Lewinsky-type dress was a big part of the trial, big, big part of the trial.


                  Donald Trump    00:20:27-00:20:58 (31 sec)                                                                             NO SIGNAL (0.371)
            
                  I said, "Why didn't you mention that?" And I heard there was a dress involved, and I wasn't frightened at all because I did
                  nothing with her. Never touched this woman, saw this woman. I had no idea who she was. "But they have a dress, sir." I said, "So
                  what?" "Well, sir, it's very -- " They used that dress to try and intimidate me.


                  Donald Trump    00:20:58-00:21:26 (28 sec)                                                                                  WEAK (1.071)
            
                  They used that dress with the public. That dress was such a famous dress. It was Monica Lewinsky Part 2, the dress. And the

                  judge wanted it for trial, and it was going to go into trial, and then they found out there was nothing on the dress, which I knew,
                  and then the judge wouldn't allow it to be used.


                  Donald Trump    00:21:26-00:21:52 (26 sec)                                                                             NO SIGNAL (0.586)
            
                  So, they used it as a cudgel. They used it as a hammer over my head. And then the judge, when he heard that it was -- it
                  showed totally negative, totally negative. The judge wouldn't allow us to use it at trial. Then there was an Anderson Cooper
                  interview, where she said, essentially, "No. He didn't rape me."


                  Donald Trump    00:21:52-00:22:11 (19 sec)                                                                             NO SIGNAL (0.655)
            
                  She was selling her book. She wrote a book. The book would have been a total failure. Probably was, anyway, although probably
                  sold more recently. Again, it is a woman that wasn't doing well until she came out with the stuff about me. And that's happened
                  to others, too, by the way. She's not the only one.


                  Donald Trump    00:22:11-00:22:36 (25 sec)                                                                              NO SIGNAL (0.76)
            
                  But they have the Anderson Cooper tape, and in the Anderson Cooper tape, it's an interview of her. And Cooper says something

                  to the effect, "Did he rape you? Did he rape you?" He was so happy. "Did he rape you?" And she gave a very good answer for
                  me but a bad answer for CNN, for Anderson. And he said, "We're going to commercial break right now."


                  Donald Trump    00:22:36-00:23:02 (26 sec)                                                                             NO SIGNAL (0.506)   X
            
                  Then she came back from commercial break, and she was much more hostile. But this man wouldn't let us use the tape or the
                  proper questions having to do with the tape. Wouldn't let us, the judge. Judge Kaplan wouldn't let it be used. We wanted to get
                  the outtakes. In other words, what did Anderson Cooper talk to her about during that intermission for a commercial that he
                  called for immediately? Where do you see this? I mean, some of you have seen it.



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                  Donald Trump    00:23:02-00:23:36 (34 sec)                                                                            NO SIGNAL (0.748)
            
                  Some of you haven't. "We're going to commercial break right now." And so, what happened is we weren't able to use it. The
                  other thing is we had not one trial. We had two trials. Nobody understands why. We asked for consolidation. And I wanted to
                  show up to the trial, to the first trial. My lawyer, who's not up here, not with us any longer, "Sir, you should not show up. You're
                  the former president."


                  Donald Trump    00:23:36-00:24:06 (30 sec)                                                                            NO SIGNAL (0.543)
            
                  Or the president. I don't even know when the trial was. "You're the president of the United States, sir. This is beneath you. I've
                  got this 100%." The dress is negative, but he wasn't able to use it. "Sir, it's beneath you to show up." I said, "But wouldn't that be
                  bad for a jury? Wouldn't that be sort of bad for a jury if I don't show up?" He said, "Sir, you don't have to show up. I've got this.
                  You shouldn't do it. It's beneath you. It's beneath the office of the president."


                  Donald Trump    00:24:06-00:24:31 (26 sec)                                                                            NO SIGNAL (0.982)
            
                  I understood what he meant by that, and so I didn't show up. And I was found guilty of something that I didn't do with a
                  woman that I have never seen, touched, or in any way was involved with, nor would I want to be. I would not want to be. My
                  people said, "Please don't say that." I would not want to be involved with her.


                  Donald Trump    00:24:31-00:24:58 (27 sec)                                                                            NO SIGNAL (0.773)
            
                  And that's where we are. So, we're appealing it. And people would say it's not a friendly panel based on the appointments, but
                  you'll look that up yourself. But I hope they understand this is the office of the president of the United States, and there has to
                  be fairness shown. Our court system is looking so bad.


                  Donald Trump    00:24:58-00:25:21 (23 sec)                                                                            NO SIGNAL (0.758)
            
                  If you're a Democrat -- these are all Democrat-appointed people, Biden, Clinton, I think others. Three people. They seem very
                  good today. I mean, they seem absolutely fine, but I've read and I've heard it's not a friendly panel, but I wasn't surprised
                  because I don't get friendly panels. I don't get friendly panels.


                  Donald Trump    00:25:21-00:25:54 (33 sec)                                                                            NO SIGNAL (0.261)
            
                  But where we've had fair judges, where we've had brilliant judges, frankly, I don't know the judge in Florida, Judge Cannon.
                  Don't know her at all, but I think she's a brilliant woman. I think she handled a scam. It's a scam case. That's the documents case.
                  That's the case where Biden, who had 10 times more documents, took all this stuff for years, 50 years, and he was exonerated.


                  Donald Trump    00:25:54-00:26:21 (27 sec)                                                                                  WEAK (1.03)
            
                  Of course, they said he was incompetent, so he wasn't fit. So, he was exonerated based on that. But me, I don't get exonerated
                  so easily. And I had a thing called the Presidential Records Act, which exonerates me. But we won that trial. And the other side
                  plays the ref, Drew and Weissman and all these people.


                  Donald Trump    00:26:21-00:26:42 (21 sec)                                                                            NO SIGNAL (0.351)
            
                  And again, Lisa Monaco should not be involved in this because she's been after Trump for years, and now she's like the second
                                                                                                                                                            X
                  person at the DOJ. But she's with all these people. And they're playing the ref, and they say terrible things about judges. They
                  do it with the Supreme Court justices because they think they're going to intimidate them.


                  Donald Trump    00:26:42-00:27:06 (24 sec)                                                                                 WEAK (1.266)
            


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                  I think it should be illegal. That's what the DOJ should look into, the legality of these people taking a brilliant judge and
                  demeaning her and taking other people that are fair and solid and demeaning them. It's called playing the ref. Nobody did it
                  better than the late Great Bobby Knight basketball coach.


                  Donald Trump      00:27:06-00:27:23 (17 sec)                                                                             NO SIGNAL (0.56)
            
                  He would play -- he would scream at those refs and everything. They say, "Bobby, you're not going to get the decision
                  overturned." "Yep. But the next one, I will." And he was right. He was a great basketball coach, last coached to have an
                  undefeated season, last coach in basketball to have it many years ago.


                  Donald Trump      00:27:23-00:27:50 (27 sec)                                                                            NO SIGNAL (0.542)
            
                  He also endorsed me. But he played the ref. These people are playing the ref when they are allowed to call for recusal,

                  impeachment of a judge because they're not getting their way, and for some reason, the other side doesn't do that. They don't
                  do that. The other side is much softer. Republicans play it a lot softer, but they play it legitimately.


                  Donald Trump      00:27:50-00:28:14 (24 sec)                                                                            NO SIGNAL (0.889)
            
                  So, I'm going to ask, if I might, Will Scharf to come up, just say a couple of words about what took place today, one of our
                  attorneys working on this ridiculous -- it's a ridiculous case. Remember, it never happened. It was made up for political reasons,
                  and the DOJ is behind everything, every one of these cases.


                  Donald Trump      00:28:14-00:28:34 (20 sec)                                                                            NO SIGNAL (0.437)
            
                  It's political interference. It's a witch hunt just like the fake Russia, Russia, Russia scam was a witch hunt and just like they want
                  to start that scam all over again by announcing that Russia, Russia, Russia we're talking about. And you know what they do
                  when they do that? They intimidate people from having a fair election.


                  Donald Trump      00:28:34-00:28:54 (20 sec)                                                                             NO SIGNAL (0.61)
            
                  They intimidate poll workers from speaking up when they see crooked things take place in the election. And it's a disgrace. Our
                  country's in serious trouble. Our judicial system is in very serious trouble. Will, please come up. Thank you.


                  Will Scharf   00:28:54-00:29:08 (15 sec)                                                                                  NO STRESSLENS
            
                  Good morning, you all. My name is Will Scharf. I'm one of President Trump's attorneys. Today, we presented oral argument
                  before the United States Court of Appeals for the 2nd Circuit in one of two cases brought against President Trump by E. Jean
                  Carroll. Now, it's really important to remember that E.


                  Will Scharf   00:29:08-00:29:27 (19 sec)                                                                                  NO STRESSLENS
            
                  Jean Carroll's story at its heart is an utterly implausible he said, she said story. There is no corroboration for anything she has
                  ever claimed about President Trump. There are no corroborating witnesses, as President Trump alluded to. There is not
                  confirmatory DNA. No police report was filed at the time of this alleged incident.


                  Will Scharf   00:29:27-00:30:10 (42 sec)                                                                                  NO STRESSLENS
                                                                                                                                                             X
                  She was unable to identify when this incident occurred until quite recently. No surveillance evidence or witnesses have ever
                  been found or come forward confirming any aspect of E. Jean Carroll's story. In light of that, in light of the utter implausibility of
                  the story that E. Jean Carroll was attempting to sell to the jury in this case, her attorneys introduced evidence that should have

                  never seen the inside of a courtroom, utterly insane efforts to introduce propensity witnesses, Jessica Leeds and Natasha
                  Stoynoff, most notably, in an unfair and improper effort to buttress E.



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                  Will Scharf   00:30:10-00:30:36 (26 sec)                                                                                   NO STRESSLENS
            
                  Jean Carroll's failed attempt to assault President Trump. Jessica Leeds' story is instructive here. This is a woman who claims, in
                  the middle of a crowded airliner in 1979, President Trump assaulted her. Leeds has never been able to identify where this plane

                  departed from, where it went to, the date of the flight in question, making our efforts to disprove her testimony extremely
                  difficult.


                  Will Scharf   00:30:36-00:30:58 (22 sec)                                                                                   NO STRESSLENS
            
                  Under the federal rules of evidence, this story should have never been allowed to be presented to the jury in this case. The same
                  is true of Natasha Stoynoff's story, which, again, lacks any indicia of reliability, any sort of credibility, any sort of confirmatory
                  testimony from other witnesses, or anything else that would make you believe that this actually happened.


                  Will Scharf   00:30:58-00:31:17 (19 sec)                                                                                   NO STRESSLENS
            
                  So, on the one hand, you have a judge who allowed in this improper propensity evidence that should not have been allowed in.
                  In our view, that polluted the jury's deliberations in this case. That presented a story to the jury of a series, of a pattern of
                  conduct that the jury should not have been considering.


                  Will Scharf   00:31:17-00:31:36 (19 sec)                                                                                   NO STRESSLENS
            
                  And we think that absent that propensity evidence, no fair jury could have reached the verdict that was reached in this case.

                  And as a result, we believe that this verdict needs to be overturned. But there's more than that. In addition to this improper
                  propensity evidence, President Trump and his trial team were prevented from cross examining E.


                  Will Scharf   00:31:36-00:31:55 (19 sec)                                                                                   NO STRESSLENS
            
                  Jean Carroll and other witnesses on crucial issues, crucial issues, in particular, relating to political coordination and the political
                  motivation behind this entire lawsuit. This is a lawsuit that was instigated in large part by George Conway, a longtime political
                  foe and adversary of President Trump.


                  Will Scharf   00:31:55-00:32:24 (29 sec)                                                                                   NO STRESSLENS
            
                  This is a lawsuit that was funded by Reid Hoffman, a key political ally of the Biden-Harris administration and a major Democrat
                  donor. We were limited in the evidence we were allowed to present at trial about these crucial facts. We were prevented from
                  cross-examining E. Jean Carroll on aspects of that dynamic that underlies this entire lawsuit, and that too unfairly corrupted the
                  jury's deliberations in this case and requires reversal of the jury verdict.


                  Will Scharf   00:32:24-00:32:47 (23 sec)                                                                                   NO STRESSLENS
            
                  I think this political coordination point is particularly important, though. It's important to emphasize because what we have seen

                  in the last few years is a weaponization by the Biden administration and by their political allies of our legal system and of our
                  courts to unlawfully, unconstitutionally interfere with President Trump's core First Amendment right to run for president.


                  Will Scharf   00:32:47-00:33:16 (29 sec)                                                                                   NO STRESSLENS
            
                  That is a right guaranteed to him by the Constitution. That is the right that his political opponents are attempting to strip away
                                                                                                                                                             X
                  from him. We have seen this in case after case after case where unfair political motives have underlain what should be serious
                  legal proceedings. And I think when you look at this situation in Toda, when you look at what the left, when you look at what
                  the Biden-Harris administration is attempting to do to President Trump, this is insane.


                  Will Scharf   00:33:16-00:33:34 (18 sec)                                                                                   NO STRESSLENS
            

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                  This is an absolute abuse of our legal system. It's an absolute abuse of the rule of law. It should be deeply offensive not just to
                  political supporters of President Trump but to each and every American. With respect to today's appeal, we are hopeful that the

                  2nd Circuit understands what's at stake here.


                  Will Scharf   00:33:34-00:33:57 (22 sec)                                                                                 NO STRESSLENS
            
                  We are hopeful that the 2nd Circuit understands what occurred during this trial, which was an improper use of evidence to
                  buttress E. Jean Carroll's entirely meritless claims on the one hand and an improper exclusion of evidence that would have
                  informed the jury about the true motivation behind this lawsuit and that we believe would have resulted in a very different
                  verdict. Thank you.


                  Donald Trump      00:33:57-00:33:57 (1 sec)                                                                              NO STRESSLENS
            
                  Thank you very much.


                  Alina Habba     00:33:57-00:34:19 (21 sec)                                                                               NO STRESSLENS
            
                  Good afternoon. I've done this one too many times. Actually, too many times for the last three and a half years while President
                  Trump has been trying to fight to get this country back. And I want to speak to the American women, and I want to speak to the
                  people that need to get out and vote in November 5th.


                  Alina Habba     00:34:19-00:34:52 (33 sec)                                                                               NO STRESSLENS
            
                  I have sat with President Trump for years now while he has been targeted with lies and with judges, AGs, and DAs, who have
                  specifically run in this city and others on getting Trump. The Trump administration will fix this problem. We will stop Kamala
                  Harris' regime, because she was there, let's not forget that, and she still is, of using officials from the White House, putting them
                  in DA's offices, in AG's offices, and attacking your political opponent, and this country deserves better than this.


                  Alina Habba     00:34:52-00:35:24 (32 sec)                                                                               NO STRESSLENS
            
                  We do. We should not be sitting here at a press conference talking about this. We did this in 2016, and every woman had no
                  reports. They come out when it's election time. And as a woman who has stood with President Trump, who has spent extensive
                  time with President Trump and with his beautiful family, I will tell you that is not President Trump, and I completely am
                  disgusted by what I have seen happen to this person, his family, and the Trump organization that we stand in right now.


                  Alina Habba     00:35:24-00:35:40 (15 sec)                                                                               NO STRESSLENS
            
                  You must vote Donald Trump back in because as an attorney, as a woman, as a mother, our future of this country depends on it,
                  and we need to stop this from happening. The DOJ is supposed to help our country and protect us, not attack us because you

                  cannot win in the polls. Thank you.


                  Donald Trump      00:35:40-00:36:18 (39 sec)                                                                           NO SIGNAL (0.943)
            
                  Thank you very much both. And just in finishing this, we have numerous other trials that are also very much in coordination with
                  the DOJ. They actually took just about their top person, and they put them into the offices of the attorney general of New York
                  and then also the office of the DA, DA Bragg's office, to make sure the case is brought and brought viciously against their
                  political opponent.                                                                                                                        X




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                  Donald Trump    00:36:18-00:36:44 (26 sec)                                                                          NO SIGNAL (0.96)
            
                  And it's a shame. It's a shame. Businesses will not come to New York because of it. Actually, in the case of Engoron, they used a
                  consumer frauds case, never used before for a thing like this. And not only were my numbers correct -- and again, this was a
                  generality. All you need is a general, but I had really good numbers.


                  Donald Trump    00:36:44-00:37:18 (34 sec)                                                                          NO SIGNAL (0.84)
            
                  But they were very conservative, very much on the low side, and the judge knew that. And the judge ruled a fine against me, the
                  likes of which has never even been heard of. Businesses will never come to this state as long as that is able to be held up.

                  Because we won that trial so conclusively. We had an expert witness said that President Trump's financial -- this was an expert
                  witness from the Stern School of Business, one of the most highly respected people in the country as an expert witness.


                  Donald Trump    00:37:18-00:37:53 (34 sec)                                                                          NO SIGNAL (0.54)
            
                  He said -- to the best of my remembering, it's a big statement, but he said, "This is perhaps the best financial statement I've
                  ever seen." But the judge made me pay, like, a $400 million fine. This is a consumer fraud statement. Think of it, consumer

                  frauds case that they made it in. The judge refused to give it over to the commercial division where they could understand
                  things, and they would have dismissed it immediately because this case had no merit whatsoever.


                  Donald Trump    00:37:53-00:38:11 (18 sec)                                                                         NO SIGNAL (0.534)
            
                  The judge wanted to settle the case for a very much smaller amount, and I said, "I'm not going to settle. I didn't do anything

                  wrong." But he would have settled the case for a much smaller amount. He wanted to settle it for a much -- we had numerous
                  meetings in his office for a fraction of the number that he gave.


                  Donald Trump    00:38:11-00:38:38 (27 sec)                                                                         NO SIGNAL (0.555)
            
                  That was one of the interesting things. I figured that the worst that you could do is what he wanted to settle for, which was a
                  very small number by comparison. And then he just came out with this number. This was in coordination with the DOJ. And the

                  other case that you know about and you've been hearing about, which is same kind of a thing, also in coordination is the Bragg
                  case, and they actually wanted to put them together in New York.


                  Donald Trump    00:38:38-00:39:04 (26 sec)                                                                          NO SIGNAL (0.76)
            
                  They wanted to put the DA case together with the attorney general case, but they both wanted credit. They couldn't
                  understand. You know, they both wanted credit, so they had their own cases. And it's very corrupt in New York and very, very

                  corrupt. It's a very corrupt place and doing very badly. But when people see what happened and when they see -- oh, I've had

                  so many calls from businesspeople saying, "This is just terrible."


                  Donald Trump    00:39:04-00:39:55 (51 sec)                                                                            NO STRESSLENS
            
                  Today, there was a story about somebody in Southern District who's highly respected, knocking the hell out of both of those

                  cases, say it's an embarrassment they were allowed to be brought. And I'm going to write out a list of things from Alan
                  Dershowitz, Andrew McCarthy, Greg Jarrett, some of the greatest people, all legal scholars, great people, Jonathan Turley, like10

                  highly respected -- the most highly respected people that quote -- Calabresi, Judge Calabresi, that quote on cases, and they -- I
                                                                                                                                                         X
                  mean, shockingly, they can't even believe it.




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                  Donald Trump     00:39:55-00:40:25 (30 sec)                                                                         NO SIGNAL (0.496)
            
                  They said this case should not have been allowed to be brought, and that's about pretty much both cases, but it's about the
                  case that we have in front of Judge Merchan. That case is a disgrace. Should've never been allowed. I did nothing wrong. And

                  he took a nonexistent, expired -- long expired by the statute limitations misdemeanor.


                  Donald Trump     00:40:25-00:40:54 (30 sec)                                                                         NO SIGNAL (0.905)
            
                  He made it into 34, or something more than that, counts of felony. Nobody could even believe it. Over nothing. And if you look
                  at that case, he wouldn't allow it. That whole thing was done by an attorney. I had nothing to do with it. That was done by an

                  attorney, a sleazebag named Michael Cohen, and he did the whole thing.


                  Donald Trump     00:40:54-00:41:15 (21 sec)                                                                         NO SIGNAL (0.962)
            
                  And you're allowed to have reliance on attorney. It's called reliance on attorney. You have a reliance on attorney. Attorney's

                  allowed to do things, and all it was is a nondisclosure agreement with somebody that said nothing happened, by the way. I
                  might add that. If you don't mind, I'll add that. We have a statement.


                  Donald Trump     00:41:15-00:41:39 (24 sec)                                                                         NO SIGNAL (0.469)
            
                  Nothing happened. And he got a nondisclosure agreement. He did it on his own, and this judge refused to allow us to use that
                  as a defense, the attorney-client defense, which is very standard. Other people have never heard that you're not allowed to use

                  it. But he's the one that did it because I was running for president and running the country.


                  Donald Trump     00:41:39-00:42:07 (28 sec)                                                                            NO STRESSLENS
            
                  He's the one that did it. So, all of these cases are a disgrace. But the case that we had today downtown, I wish we could have
                  mentioned the dress. Again, got the idea from Monica Lewinsky, but it was negative. Wasn't allowed to be used. I wish we could

                  have mentioned many of the other things, and I certainly wish we could have gone to CNN and got the outtakes, what's called
                  the outtakes.


                  Donald Trump     00:42:07-00:42:37 (30 sec)                                                                         NO SIGNAL (0.496)
            
                  What did Anderson Cooper tell her during the commercial? I'd love to find that out. So, that's where we are. We have a very
                  corrupt system of laws, but in that system, we have some very good judges also. And I think in the end, the good judges will

                  prevail. And I hope Democrat-appointed judges can see a scam like this where somebody just makes up a story, probably out of
                  "Law & Order."


                  Donald Trump     00:42:37-00:43:05 (27 sec)                                                                         NO SIGNAL (0.278)
            
                  I don't know. She made it up out of somewhere. But check out the "Law & Order" episode that we're talking about. Make up a
                  story, and I end up getting sued. And by the way, the punishment is like $89 million and wouldn't have two cases. It should have

                  been one case. But two cases is better because you get double bad publicity.


                  Donald Trump     00:43:05-00:43:26 (22 sec)                                                                         NO SIGNAL (0.236)
            
                  We asked the judge, "Could you consolidate the cases, same case?" And he refused to do so. He wanted two cases. So, two
                                                                                                                                                          X
                  cases, two sets of lawyers, two everything. It's really, really very disgraceful. Let me talk about job numbers because, as you

                  know, they just came out, and they're a basic disaster.


                  Donald Trump     00:43:26-00:44:19 (53 sec)                                                                            NO STRESSLENS
            


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                  They are really bad. You had numbers that are shocking. Native-born Americans, we lost 1.3 million jobs, while foreign-born

                  Americans were able to take all of those jobs. So, foreigners coming in illegally, largely illegally, into our country took the jobs
                  of native-born Americans, and I've been telling you that's what's going to happen because we have millions and millions of

                  people pouring into our country, many from prisons and jails and mental institutions and insane asylums, traffickers, human

                  traffickers, women traffickers, sex traffickers, which, by the way, that's the kind of thing that people should be looking at
                  because it's horrible.


                  Donald Trump     00:44:19-00:44:38 (19 sec)                                                                                WEAK (1.236)
            
                  And it's turning out that migrant crime is far worse than any crime that we've ever experienced. If you look at Aurora, Colorado,
                  they're taking over the place. They took over buildings. And this is just the beginning. You haven't seen anything yet. You

                  haven't seen anything. They've allowed well over 20 million people, in my opinion.


                  Donald Trump     00:44:38-00:45:06 (28 sec)                                                                           NO SIGNAL (0.885)
            
                  Other people say, "Well, it's only 13." No. No. It's much more than 20. I think it's much more than 20. Our country is being

                  invaded because of incompetent people like Kamala that doesn't want to do one interview. Just one softball interview with CNN
                  couldn't have been nicer. Dana Bash, you know what? I gained respect for Dana Bash and for Jake Tapper because in my

                  interview with Sleepy Joe, I thought they were very fair, actually.


                  Donald Trump     00:45:06-00:45:30 (24 sec)                                                                                WEAK (1.034)
            
                  I was surprised they were very fair. I'm going into very hostile territory shortly on a debate with ABC, George Slopadopoulos and
                  that group. And ABC, I think, is the worst of everybody. I think they're the worst. They're the nastiest. They're as bad as you can

                  be. They're worse than NBC, which is saying a lot.


                  Donald Trump     00:45:30-00:45:51 (21 sec)                                                                           NO SIGNAL (0.798)
            
                  And we have something coming. And the reason I'm doing it is because that's the only one that she would do it with because

                  her best friend is the head of ABC or ABC News, and her husband's best friend is married to that one. And Donna Brazil is there.
                  You remember the famous Donna Brazile? She gave Hillary Clinton the questions.


                  Donald Trump     00:45:51-00:46:22 (31 sec)                                                                           NO SIGNAL (0.293)
            
                  You remember that? That was a little embarrassing. She got fired, I assume, for that. But now, she's working at ABC. So, I said I'll
                  do it anyway because even if she knows the answers and knows the questions, I don't think she'll be very good, and this is not

                  what our country wants. And I feel I have an obligation to do it, and she'd never stand up here like this and give a news
                  conference and speak about what's happening with the weaponization of our justice system.


                  Donald Trump     00:46:22-00:46:56 (34 sec)                                                                             NO STRESSLENS
            
                  This is the weaponization of justice at a level that nobody's ever seen in this country before. We've never seen it. You see it in

                  third-world countries. You see it in banana republics, but you don't see it in the United States of America. And it's a very sad
                  thing. And I think I'm doing a great service by having gone through it and revealing it because, you know, it came out with an

                  indictment from the district attorney, which, again, just revealed today, and I hope you're going to do a story because it's a big
                  story.                                                                                                                                    X


                  Donald Trump     00:46:56-00:47:29 (33 sec)                                                                             NO STRESSLENS
            
                  The Southern District of New York was -- and this is a very highly respected group of people. He said it was a disgrace that that
                  case was brought. It was a disgrace that the case was brought in front of Merchan. The case is a disgrace. Should have never



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4/4/25, 5:22 PM       Case 1:25-cv-00916-JDB               Document
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                                                                                         a Press Conference inPage   16- September
                                                                                                               New York   of 16 6, 2024
                    been brought. Should have never been brought. And the case in front of Judge Engoron, just in terms of the case itself, we had

                    four or five overturns in the Appellate Division.


                    Donald Trump     00:47:29-00:47:49 (21 sec)                                                                                             NO SIGNAL (0.541)
              
                    I only hope the Appellate Division, for the good of New York -- otherwise, you just say, God save the state. For the good of New

                    York, I hope that the Appellate Division will do what's right on that case because that case was a scam. But every single one of

                    these cases that I'm mentioning, they're all hoaxes and scams.


                    Donald Trump     00:47:49-00:48:11 (22 sec)                                                                                             NO SIGNAL (0.314)
              
                    No different than Russia, Russia, Russia, Ukraine, Ukraine, Ukraine, the impeachment hoax No. 1, impeachment hoax No. 2, all

                    these things that we won. We won them all. But it takes time. It takes effort. And they're at it again. But this time, what they're
                    doing is they're hitting us as hard as possible.


                    Donald Trump     00:48:11-00:48:33 (22 sec)                                                                                             NO SIGNAL (0.678)
              
                    You know, it's very interesting. It just brings to light the lawyer on the hoax that we're talking about now having to do with E.
                    Jean Carroll. She said, "The way to defeat Trump is go after him civilly as often as possible, make his life miserable, sue him all

                    the time, keep him in court, and let him spend a fortune."


                    Donald Trump     00:48:33-00:49:03 (30 sec)                                                                                             NO SIGNAL (0.358)
              
                    That's the lawyer I have in the E. Jean Carroll case, and that's exactly what they've done. The only thing I can say that's good

                    about it is the public understands, and my poll numbers, I believe, are higher now than they would have been without it
                    because the public understands it's a hoax, it's a scam, it's a political witch hunt, and some of you should be ashamed of

                    yourselves. Thank you very much, everybody. Thank you.




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